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                                                                                                                            FILED
                                                                                                                      U.S. District Court
AO 106 (Rev. 04/10) Application for a Search Warrant
                                                                                                                      District of Kansas


                                      UNITED STATES DISTRICT COURT                                                         JUL ·2 2019
                                                                      for the                                  Clerk, ~Sldcstrict Court
                                                                District of Kansas                             By        i;:z__.     Deputy Clerk

               In the Matter of the Search of                            )
         (Briefly describe the properly to be searched
          or identifj1the p erson by name and address)

       the premises and devices located at the
                                                                         )
                                                                         )
                                                                         )
                                                                                     Case No. (   q-c, /~ ~
    camper-trailer and she lter currently at Lake Afton                  )
       Campsite 41, Sedgwick County, Kansas                              )

                                             APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of pe1j ury that I have reason to believe that on the following person or property (identifj1 the person or describe the
property to be searched and give its location):

 See Attachment A

located in the                                    District of   ~----------~
                                                                             Kansas                , there is now concealed (identifj1 the
person or describe the property to be seized):

 See Attachment B

          The basis for the search under Fed. R. Crim. P. 41 (c) is (check one or more):
                 ii evidence of a crime;
                 ii contraband, fruits of crime, or other items illegally possessed;
                 fi property designed for use, intended for use, or used in committing a crime;
                 0 a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:
             Code Section                                                            Offense Description
        18 U.S.C. 2252/2252A                       Transportation, Distribution, Receipt, Possession of Child Pornography



          The application is based on these facts:

        See Attached Affidavit of Probable Cause.

          ii    Continued on the attached sheet.
          0 Delayed notice of _ _ days (give exact ending date if more than 30 days: _ _ _ _ _ ) is requested
                under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.




                                                                                       Todd R. DiCaprio, Special Agent, FBI
                                                                                                  Printed name and title

Sworn to before me and signed in my presence.


Date:


City and state: Wichita, KS                                                                       onorable Gwynne E. Birzer
                   ~-------------

                                                                                                  Printed name and title
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 IN THE MATTER OF THE SEARCH OF
 THE PREMISES AND DEVICES
 LOCATED IN AND AT THE
 CAMPER-TRAILER AND SHELTER
                                                   Filed Under Seal
 CURRENTLY AT LAKE AFTON
 CAMPSITE 41, KANSAS



                             AFFIDAVIT IN SUPPORT OF
                      AN APPLICATION FOR A SEARCH WARRANT

       I, Todd R. DiCaprio, Special Agent of the Federal Bureau oflnvestigation, being first

duly sworn, hereby depose and state as follows:

                      INTRODUCTION AND AGENT BACKGROUND

       1.      I make this affidavit in suppott of an application for a search warrant for a camper-

trailer and shelter cmTently at Lake Afton Campsite 41 (Kansas), more specifically identified in

Attachment A, Description of Prope1ty to be Searched.

       2.      I have been employed as a Special Agent of the FBI since October 2007 and am

currently assigned to the FBI Kansas City Division, Wichita Resident Agency. As a Special Agent

of the FBI, I am authorized to investigate violations of laws of the United States, and I am a law

enforcement officer with authority to execute arrest and search warrants under the authority of the

United States, including violations of Title 18, United States Code §§ 2252 and 2252A. I have

paiticipated in a wide variety of criminal investigations, to include violent crime, crimes against

children, major theft, and other federal crimes. I have paiticipated in the preparation and execution

of many search warrants, including, but not limited to, those involving the sexual exploitation of

minors and ce1tain activities relating to material constituting or containing child pornography.

       3.      This affidavit is intended to show merely that there is sufficient probable cause

for the requested warrant and does not set forth all of my knowledge about this matter.
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       4.      Based on my training and experience and the facts as set forth in this affidavit, there

is probable cause to believe that violations of 18 U.S.C. §§ 2252 and 2252A have been committed

by JOHNNY DEAN HOPKINS and others unknown. There is also probable cause to believe that

evidence, fruits, and instrumentalities of violations of 18 U.S. C. §§ 2252 and 2252A are located

within the premises identified in Attachment A. I am requesting authority to search the premises

identified in Attachment A, including authority to open sealed and/or locked containers within the

premises and any and all other compartments and/or containers within the premises where the

items specified in Attachment B may be found and to seize all items listed in Attachment B as

instrumentalities, fruits and evidence of criminal activity.

                                       PROBABLE CAUSE

       5.      This investigation begins with a report submitted by Dropbox.com (Dropbox).

Dropbox is a service that allows its users to store files on Dropbox's servers.

            a. According to Dropbox's privacy policy, at https://www.dropbox.com/privacy, in
               regards to Account Information "We collect, and associate with your account, the
               information you provide to us when you do things such as sign up for your account,
               upgrade to a paid plan, and set up two-factor authentication (like your name, email
               address, phone number, payment info, and physical address). Some of our Services
               let you access your accounts and your information via other service providers." In
               addition, Dropbox services "are designed to make it simple for you to store your
               files, documents, photos, comments, messages, and so on ("Your Stuff'),
               collaborate with others, and work across multiple devices. To make that possible,
               we store, process, and transmit Your Stuff as well as information related to it. This
               related info1mation includes your profile information that makes it easier to
               collaborate and share Your Stuff with others, as well as things like the size of the
               file, the time it was uploaded, collaborators, and usage activity."

            b. The Drop box privacy policy further provides, in regards to Usage Infmmation, "We
               collect information related to how you use the Services, including actions you take
               in your account (like sharing, editing, viewing, and moving files or folders)." In
               regards to Device Information, the Dropbox privacy policy provides "We also
               collect information from and about the devices you use to access the Services. This
               includes things like IP addresses, the type of browser and device you use, the web
               page you visited before coming to our sites, and identifiers associated with your



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               devices. Your devices (depending on their settings) may also transmit location
               information to the Services."

            c. In order to create a Dropbox account, a user is required to register with an email
               address. Once registered, each user is assigned a unique user id. Dropbox
               communicates with users via stored email accounts on file when users access and
               make changes to their accounts unless the user opts-out of those emails. To sign
               into the user' s Dropbox account, the user enters their email and password. Once a
               user has a Dropbox account, they can invite other Dropbox users to access their
               shared folders. A shared folder is one in which more than one user has access to,
               and can add, download or delete content. If a user joins another user's shared
               folder, the shared folder size counts towards the first user's space limitation. If a
               user is invited to join another user's folder, the invitation request is sent to the
               registered email account.

            d. Once a Dropbox account is created, files may be added to the account. Any files
               added to a Dropbox account will sync across all the computers, phones, and tablets
               where a user installed Dropbox.

       6.      In October 2018 Dropbox submitted a CyberTipline repo1t to the National Center

for Missing and Exploited Children (NCMEC), repo1t number 41401889, regarding ten images

and seventy-seven (77) videos depicting apparent child pornography being uploaded to a Dropbox

account. Dropbox identified the account as:

       Screen Name: Johnny Hopkins;
       ESP User Identifier: 498857433;
       Email address: jhopkins838@gmail.com.

As pait of its report, Dropbox also included the uploaded depictions, which it indicated it had

reviewed. The uploaded videos and images included examples of known depictions of child
                                   \




pornography including:

               a.      6ce3ab96-6e0a-4169-99ec-d557d39e77eb.mp4 - A thi1ty-two second
                       video of a pre-pubescent female, fully naked in a bathroom, performing oral
                       sex on a male penis until it ejaculates on her face and in her mouth.

               b.      3205032a-ef2b-4c8e-9a2d-fld674645f87.mp4 - A sixty-two second video
                       depicting a pre-pubescent female, naked from the waist down with her
                       genitalia fully exposed, with the left hand of an unknown adult digitally
                       penetrating and masturbating/manipulating her vagina.



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                      c.            c7e345e6-6473-4940-956b-1 bcac79efb22.mp4 - A one minute, thi1ty-
                                    seven second video depicting a pre-pubescent male and female, fully naked,
                                    in a tub. The pre-pubescent female uses her left hand to rub and pull the
                                    penis of the pre-pubescent male in the tub with her.

                      d.            100_ 2024.jpg-A picture depicting a naked pre-pubescent female, with her
                                    breasts and genitalia exposed, kneeling on a floor while bending backwards
                                    with her aims stretched over her head.

           7.         In November 2018 a subpoena was served to Dropbox seeking infmmation

pe1taining to the above account. In November 2018, Dropbox responded to the subpoena request

with the following information:

           Name: Johnny Hopkins
           Email: jhopkins838@gmail.com
           User ID: 498857433
           Current Account Status: Disabled

Drop box also provided a spreadsheet showing Authentication Information and Mobile Information

as follows:

           Au t henti cation Information
+-------------------------+----------- ---+
I   TIMESTAMP (UTC)        I   IP   I

+-------------------------+------------- -+
  20 1 8 -0 5 -0 8 03 :0 7 : 28 GMT I 1 07. 77 .17 3 .7
I 20 1 8-05 - 16 0 7 : 20 : 24 GMT I 1 07.7 7.17 3 . 8
I   20 1 8 - 05 - 16 11: 32 : 05 GMT    I   1 07 . 77 .17 3 . 8     I

I 20 1 8 -0 7 - 2 8 00 : 55 : 30 GMT I 107.77 .17 3 . 8 I
I 20 1 8 -0 9 - 0 4 06 :1 4 : 30 GMT I 107.77 .1 73 .1 I
+-------- -----------------+----------- ---+
Mobile Informa t ion
+----- ------------ --------+-----------------+--------------- -+------------------+
I TIMESTAMP (UTC) I IP I MODEL I CARRI ER I
+-------------------------+------- ----------+-------------- --+------------------+
I   2018-0 5- 0 7 10 : 25:33 GMT        I   1 07 . 77 . 173 . 10        I    Z965 I cricket I
I   2018- 0 6-28 05 : 37 : 01 GMT       I   1 0 7 . 77 . 17 3 . 9   I       SPH-L7 10 I Sp rint   I

I   2018- 0 9-06 05:05:10 GMT           I   107.7 7 . 173 . 6       I       Z965 I c r icket I
+-------------------------+-----------------+----------------+------------------+
           8.         In November 2018, a subpoena was served to Google seeking information

pe1taining to email address jhopkins838@gmail.com. In November 2018, Google responded to

the subpoena request with the following information:

           Name: Johnny Hopkins
           Email: jhopkins838@gmail.com
           Services: Android, Gmail, Google Calendar, Google Chrome Sync, Google Cloud Print,
           Google Docs, Google Drive, Google Groups, Google Hangouts, Google Keep, Google My

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       Maps, Google Payments, Google Photos, Google Play, Google Play Music, Google URL
       Shortener, Google+, Has Google Profile, Has Plusone, Location History, Profiles, Wallet
       Transfer, Web & App Activity, YouTube
       Recovery e-Mail: Hoppy52_7@hotmail.com
       Recovery Email: Hoppy52 7@hotmail.com
       Created on: 2012111/19-18:18:42-UTC
       Terms of Service IP: 69.171.162.151, on 2012/11/19-18: 18:42-UTC
       SMS: + 13168074913 [US] = AT&T Wireless
       Google Account ID: 929567086602
       Last Logins: 2018/11/06-08:19:48-UTC, 2018/11/03-12:34: 14-UTC, 2018111/01-
       18:44:50-UTC

       9.      In November 2018, a subpoena was served to AT&T seeking information

pertaining to telephone number 316-807-4913 (the SMS number associated with the Google

account). In response to the subpoena request, AT&T provided the following infmmation:



       AXXXXXXXX
                                                CRICKET
       11/26/2018
                          WIRELESS
                       SUBSCRIBER INFORMATION

       531435932


       FINANCIAL LIABLE PARTY

      Name: JOHNNY HOPLINS
      Credit Address: 9178 YORI<. CT, HAYSVILLE,KS 67060

       Activation Date: 04/02/2018

       Contact Name: JOHNNY HOPLINS
       Contact Home Phone:       Contact Work Phone:


       BILLING PARTY

      Account Number: 531435932
      Name: JOHNNY HOPKINS
      Billing Address: 9178 YORK CT, HA YSVILLE,KS 67060
      Account Status : OPEN         Billing Cycle: 2


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           USER INFORMATION

           MSISDN: (316) 807-4913              IMSI: 310150713498185
           MSISDN Active: 04/02/2018 - Current
           MSISDN Status: Active
           Name: JOHNNY HOPLINS
           User Address: 9178 YORK CT, HAYSVILLE, KS 67060
           Service Start Date: 04/02/2018     Dealer Info: 70189336
           Payment Type: Prepaid
           Contact Name: JOHNNY HOPLINS
           Contact Home Phone:              Contact Work Phone:
           Migration Ind: N               Migration Date:




           LDS

                           CRICKET PROPRIETARY
            The information contained here is for use by authorized person only and is not for general
           distribution.

           10.      In January 2019, and again in April 2019, a preservation letter was submitted to

Dropbox requesting the preservation of any and all records, for a period of 90 days, for the

following account:

                    Screen Name: Johnny Hopkins
                    Email Address: jhopkins838@gmail.com and
                    ESP User Identifier: 498857433

           11.      A query of the NCMEC database yielded an additional CyberTipline Report, repo1i

16915584, submitted by Dropbox in January 2017, which revealed the following:

                 Email address: hoppy52 7@hotmail.com 1
                 Screen Name: Johnny Hopkins
                 ESP User Identifier: 491640145




1
    This is the same recovery email annotated in Paragraph 8

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       12.      Open source research for telephone number 316-807-4913 revealed the following

social media accounts:

             a. Skype:

                      •User Name: hoppy5221

                     • Display Name: johnny Hopkins

                     •DOB: 10/23

                     • Location: Haysville, United States

             b. Twitter:

                     • User ID: 4200673634

                     •User name: HopkimsJohnny

                     •Display Name: Johnny Hopkins

                     • Location: Kansas, USA

             c. Facebook:

                     •User ID: 100013840416916

                     •Display Name: John Hopkins

                     • Aliases: Nickname: Hoppy

                     •DOB: October23, 1957

                     • Gender: Male

                     • Location: Cunent City: Haysville, Kansas

                     • Website: https://www.facebook.com/profile.php?id=l 00013840416916

             d. Google:

                     •User ID: 100013562654991235504

                     •Display Name: Johnny Hopkins

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                     • Website: https://plus.google.com/+JohnnyHopkins

       13.      A database search for information related to 9178 Yark Co mi, Haysville, Kansas

67060 revealed the following:

             a. Name: Johnny Dean Hopkins

             b. DOB: 10/23/1957

             c. SSN: XXX-XX-XXXX

             d. Address: 9178 York Ct, Haysville, Kansas 67060 (Mar 2014-Mar 2019)

       14.      A driver's license check, conducted in May 2019, for JOHNNY HOPKINS, date

ofbi1ih October 23, 1957, revealed the following:

             a. Name: JOHNNY DEAN HOPKINS

             b. DOB: October 23, 1957

             c. Address: 9178 S Yark Ct, Haysville, KS 67060

             d. Driver's License Number: K02494862

             e. Status: Suspended

       15.      A criminal history check, conducted in May 2019, for JOHNNY HOPKINS

revealed a criminal history, FBI number 275856V5, with arrests for felony theft, driving under the

influence, driving violations, and possession of drug paraphernalia.

       16.      In May 2019 a search warrant was served to Dropbox for information associated

with the following account:

       Name: Johnny Hopkins
       Email: jhopkins83 8@gmail.com
       User ID : 498857433




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       17.      In June 2019, pursuant to the aforementioned search wanant, Dropbox provided a

64GB flash drive containing information responsive to the request. Included with the response

from Dropbox was a document titled "user_info" which revealed the following information:


       Name: Johnny Hopkins
       Email: jhopkins83 8@gmail.com
       User ID: 498857433
       Joined: Sun, 06 Dec 2015 15:32:21 GMT
       Cunent Account Status: Disabled
       Subscription Status: Free

       Authentication Information
       +--------------------------+---------------+-
             TIMES TAMP (UTC)                  IP
       +--------------------------+---------------+-
       I 2017 -07-31 04:48:52 GMT I
       I 2017-08-17 12:23:45 GMT I          I
       I 2018-04-21 07:52:23 GMT I 107.77.173.5 I
       I 2018-05-08 03:07:28 GMT I 107.77.173.7 I
       I 2018-05-16 07:20:24 GMT I 107.77.173.8 I
       I 2018-05-16 11 :32:05 GMT I 107.77.173.8 I
       I 2018-07-28 00:55:30 GMT I 107.77.173.8 I
       I 2018-09-04 06:14:30 GMT I 107.77.173.1 I
       +--------------------------+---------------+-

       Mobile Information
       +--------------------------+------------------+-----------------+-------------------+-
             TIMES TAMP (UTC)                  IP            MODEL               CARRIER
       +--------------------------+------------------+-----------------+-------------------+-
       I 2016-07-03 07:14:00 GMT I 173.108.91.134 I MotoE2(4G-LTE) I unknown
       I 2016-11-14 11:23:14 GMT I 66.87.72.110 I SPH-L720 I Sprint        I
       I 2017-01-25 08:13:42 GMT I 173.127.164.150 I SPH-L710 I Sprint        I
       I 2017-03-17 10:13:48 GMT I 66.87.152.105 I SPH-L720 I Sprint        I
       I 2017-03-19 06:54:47 GMT I 173.108.215.66 I SPH-L720 I Sprint        I
       I 2017-10-20 09:11:43 GMT I 107.77.173.8 I RCT6213W87DK I unknown        I
       I 2017-11-20 21:10:58 GMT I 107.77.173.12 I HTCD160LVW I Verizon Wireless I
       I 2018-05-07 10:25:33 GMT I 107.77.173.10 I Z965      I cricket   I
       I 2018-06-28 05:37:01GMTI107.77.173.9                   I SPH-L710         I Sprint
       I 2018-09-06 05:05:10 GMT 1107. 77 .173 .6              I Z965          I cricket
       +--------------------------+------------------+-----------------+-------------------+-




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        18.      Also included with the information provided by Dropbox was a document titled

"Shared_Folder_Log" which revealed the following information:


Folder name: Looking for love at first site and my soulmate
Namespace ID: 1099198130
Mount status: Mounted

           When                        Who                          Action               Extra info
 12/22/15 23:40:56          'ho kins838@ mail.com



Folder name: Yellow
Namespace ID: 1172545299
Mount status: Mounted

           When                        Who                           Action               Extra info
 03/14/16 11:41:52          jhopkins838@qmail.com         invited                 rubia8364@bracmail.com
 03/14/16 11:41:51          ihopkins838@qmail.com         created from existinq



Folder name: I• vMy First timev          Please Respons   mev+I
Namespace ID: 1092773594
Mount status: Unmounted

           When                        Who                          Action               Extra info
 12/20/15 08:13:17          jhopkins838@qmail .com        left
 12/15/15 07:28:21          ihopkins838@qmail.com         joined
 2/14/15 08:59:01           qirldf65262@outlook.com       invited                 jhopkins838@qmail .com



Folder name: Looking for a men, not a boy
Namespace ID : 1095795422
Mount status: Unmounted

           When                        Who                          Action               Extra info
 12/20/15 08:15:46          ihopkins838@qmail.com         left
 12/17/15 23:12:56          ihopkins838@qmail.com         joined


        19.      According to Drop box, "Mounted" and "Umnounted," with respect to Mount Status

means the following:

              a. "Mounted" - refers to the status of a shared folder as it pe1iains to the user in
                 question. If a folder is mounted, it will appear as part of that user's Drop box.

              b. "Umnounted" - means that it is not technically part of their Dropbox folder and will
                 not appear as pati of their Dropbox folder, but it is possible that they still have

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                access to the folder. A file or folder could be unmounted for several reasons - the
                user could have left the folder at some point after joining, the folder was deleted,
                or they had access to the folder but never mounted the folder into their Dropbox.

       20.      Of the four folders identified in the "Shared_Folder_Log" in Paragraph 17, the

folders titled "Yellow" and "Looking for love at first site and my soulmate" were both provided

as part of the content for the account belonging to HOPKINS. There were no items located in the

"Looking for love at first site and my soulmate" folder. The "Yellow" folder contained six videos,

including the following:

             a. Ob44e09d-2e16-40db-9bab-c010fddcb441 - A 52 second video depicting a naked
                pre-pubescent female performing oral sex on an unknown male;

             b. 654316f4-73d8-4237-b775-b548c18e744c - An 11 second video depicting an
                unknown male ejaculating on the face of a topless, pre-pubescent female.

       21.      A total of fifty folders and fifteen separate items were included in the Dropbox

response to the May 2019 search warrant. A review of the folders includes, but is not limited to,

the following folders of interest:

             a. "76 photos and 14 videos copied on April 22, 2017" - Folder contains seventy-six
                photos and fourteen videos;

             b. "boy teen man" - Folder contains twenty-one videos and sixteen pictures, including:
                      • received_l 12564645843512.jpeg - A picture depicting a male penis being
                        held by an unknown hand;
                      • received_1683333185252021.jpeg - A picture depicting a male penis

             c. "boyzz" - Folder contains twelve videos and one picture, including:
                     • 2 boys 10 and 11 show ass and feet (SC 2011)
                     • 11 yo boy with long hair plays with his dick and sucks toes (SC 2011)
                     • 13yo black boy shows dick, some butt and feet (SC 2011)
                     •Blake (12yo) (November 23, 2011)

             d. "Camera Uploads" - Folder contains eighty-two pictures and five videos,
                including:
                      • 2016-03-09 18.18.58.3gp - A twenty-two second video of an unknown
                        male masturbating
                      • 2016-03-15 08.52.23.jpg - A female of unknown age performing oral sex
                        on an unknown male penis. The photograph was taken with a Samsung

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                          model SPH-L710 phone. It should be noted multiple photographs of the
                          aforementioned female were located in the folder, including photographs
                          wherein at least two upper teeth are missing and the individuals breasts are
                          exposed
                      •   2016-03-15 16.03.14.jpg-A picture of the sign for the RELAX INN. The
                          photograph was taken with a Samsung model SPH-L710 phone. The
                          RELAX INN is located on S. Broadway Avenue in Wichita, Kansas
                      •   2016-03-26 16.45 .48.jpg - A "selfie" picture of an individual matching the
                          physical description of JOHNNY DEAN HOPKINS taken with a Samsung
                          model SPH-L710 phone.
                      •   2016-03-26 16.45.48.jpg A picture of the Charles Koch arena taken with
                          a Samsung model SPH-L710 phone.
                      •   2016-06-13 21.18.40.jpg-A picture depicting a light-colored bumper pull
                          camper/trailer with a brown horizontal stripe taken with a Samsung SPH-
                          L710 phone.
                      •   2016-07-16 18.41.03.jpg-A picture depicting a pre-pubescent female in a
                          bathing suit with her stomach exposed taken with a Samsung SPH-L720
                          phone.
                      •   2016-07-16 18.41.48.jpg - A close-up picture of the crotch of the
                          aforementioned pre-pubescent female taken with a Samsung SPH-L720
                          phone.

       22.      On June 25, 2019 a physical surveillance of the residence located at 9178 York

Court, Haysville, Kansas produced the following observations:

             a. A white in color pickup truck with Kansas license plate 693 KPF parked in the
                driveway. A license plate check revealed the following registration information:
                     • 1998 GMC pickup truck registered to JOHNNY DEAN HOPKINS, 9178
                       York Court, Haysville, Kansas 67060-7413

             b. Two bumper-pull style camper/trailers were observed parked in the side yard of the
                RESIDENCE. One camper was light-colored with a brown, horizontal stripe.

       23.      On June 28, 2019, FBI obtained a search warrant for the residence and devices

located at 9178 York Court, Haysville, Kansas (19-6099-GEB).

       24.      On July 2, 2019, agents executed the above-referenced search warrant. At the scene,

agents interviewed residents and learned:

             a. JOHNNY DEAN HOPKINS used the residence as a permanent mailing address,

                but otherwise lived in a camper-trailer, currently located near Lake Afton.


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             b. HOPKINS' most recent phone was damaged or lost one week prior when it was

                dropped in a lake, and that HOPKINS tends to go through multiple phones because

                he often damages them.

             c. HOPKINS is cunently using his girlfriend's phone.

             d. HOPKINS will park his camper-trailer next to a shelter, covering the space between

                with a tarp so as to expand his living space.



       25.      Agents went to Lake Afton and located HOPKINS' camper-trailer at campsite 41.

It was pulled next to a shelter, enclosed with tarps.

       26.      Agents approached and made contact with HOPKINS. After agents identified

themselves, HOPKINS identified himself and agreed to speak with agents. He confirmed his email

address was jhopkins838@gmail.com. He advised he had a broken phone in the shelter and a

phone at the bottom of Lake Afton. He identified the child (referenced in paragraph 21 (d) in the

images titled 2016-07-16 18.41.03.jpg and 2016-07-16 18.41.48.jpg) as a family member. He

identified (by first name) another individual (referenced in paragraph 2l(d) in the images titled

2016-03-15 08.52.23.jpg). All of those images were located in the Dropbox account in the Camera

Uploads folder.

               CHILD PORNOGRAPHY COLLECTOR CHARACTERISTICS

       27.      Based on my training and experience, I have learned the following regarding child

pornography offenders:

       a.       The majority of individuals who collect child pornography are persons who have a
                sexual attraction to children. They receive sexual gratification and satisfaction
                from sexual fantasies fueled by depictions of children that are sexual in nature.

       b.       The majority of individuals who collect child pornography collect sexually explicit
                materials, which may consist of photographs, magazines, motion pictures, video

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                 tapes, books, slides, computer graphics or digital or other images for their own
                 sexual gratification. The majority of these individuals also collect child erotica,
                 which may consist of images or text that do not rise to the level of child
                 pornography but which nonetheless fuel their deviant sexual fantasies involving
                 children.

       c.        The majority of individuals who collect child pornography often seek out like-
                 minded individuals, either in person or on the Internet, to share information and
                 trade depictions of child pornography and child erotica as a means of gaining status,
                 trust, acceptance and supp01i. This contact also helps these individuals to
                 rationalize and validate their deviant sexual interest and associated behavior. The
                 different Internet-based vehicles used by such individuals to communicate with
                 each other include, but are not limited to, P2P, e-mail, e-mail groups, bulletin
                 boards, IRC, newsgroups, instant messaging, and other similar vehicles.

       d.        The majority of individuals who collect child pornography maintain books,
                 magazines, newspapers and other writings, in hard copy or digital medium, on the
                 subject of sexual activities with children as a way of understanding their own
                 feelings toward children, justifying those feelings and finding comfort for their
                 illicit behavior and desires. Such individuals rarely destroy these materials because
                 of the psychological supp01i they provide.

       e.        The majority of individuals who collect child pornography often collect, read, copy
                 or maintain names, addresses (including e-mail addresses), phone numbers, or lists
                 of persons who have adve1iised or otherwise made known in publications and on
                 the Internet that they have similar sexual interests. These contacts are maintained
                 as a means of personal refenal, exchange or commercial profit. These names may
                 be maintained in the original medium from which they were derived, in telephone
                 books or notebooks, on computer storage devices, or merely on scraps of paper.

       f.        The majority of individuals who collect child pornography rarely, if ever, dispose
                 of their sexually explicit materials and may go to great lengths to conceal and
                 protect from discovery, theft, and damage their collections of illicit materials. They
                 almost always maintain their collections in the privacy and security of their homes
                 or other secure location.

       28.       Affiant asserts HOPKINS appears to share many of these characteristics, including

collecting child pornography, organizing it, maintaining it in a password-protected (secure)

environment, and engaging other like-minded individuals (as noted in the invites discussed in

paragraph 18).

                      BACKGROUND ON SEARCHES OF COMPUTERS



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       29.     The computer's ability to store images in digital form makes the computer itself an

ideal repository for child pornography. The size of the electronic storage media (commonly

refened to as the hard drive) used in home computers has grown tremendously within the last

several years. These drives can store thousands of images at very high resolution.

       30.     The Internet and its World Wide Web afford collectors of child pornography

several different venues for obtaining, viewing and trading child pornography in a relatively secure

and anonymous fashion.

       31.     Collectors and distributors of child pornography also use online resources to

retrieve and store child pornography, including services offered by Internet Portals such as Yahoo!

and Hotmail, among others. The online services allow a user to set up an account with a remote

computing service that provides e-mail services as well as electronic storage of computer files in

any variety of formats. A user can set up an online storage account from any computer with access

to the Internet. Evidence of such online storage of child pornography is often found on the user's

computer. Even in cases where online storage is used, however, evidence of child pornography

can be found on the user's computer in most cases.

       32.     As is the case with most digital technology, communications by way of computer

can be saved or stored on the computer used for these purposes. Storing this information can be

intentional, i.e., by saving an e-mail as a file on the computer or saving the location of one's

favorite websites in, for example, "bookmarked" files. Digital information can also be retained

unintentionally,   ~'   traces of the path of an electronic communication may be automatically

stored in many places(~, temporary files or ISP client software, among others). In addition to

electronic communications, a computer user's Internet activities generally leave traces or

"footprints" in the web cache and history files of the browser used. A forensic examiner often can



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recover evidence suggesting whether a computer contains peer to peer software, when the

computer was sharing files, and some of the files which were uploaded or downloaded. Such

information is often maintained indefinitely until overwritten by other data.

        33.     Searches and seizures of evidence from computers commonly require agents to

download or copy information from the computers and their components, or seize most or all

computer items (computer hardware, computer software, and computer related documentation) to

be processed later by a qualified computer expert in a laboratory or other controlled environment.

This is almost always true because of the following:

       a.       Computer storage devices (like hard disks, diskettes, CDs, and others) can store the
                equivalent of thousands of pages of information. Especially when the user wants
                to conceal criminal evidence, he or she often stores it in random order with
                deceptive file names. This requires searching authorities to examine all the stored
                data to determine whether it is included in the wmTant. This so1iing process can
                take days or weeks, depending on the volume of data stored, and it would be
                generally impossible to accomplish this kind of data search on site; and
       b.       Searching computer systems for criminal evidence is a highly technical process
                requiring expe1i skill and a properly controlled environment. The vast array of
                computer hardware and software available requires even computer expe1is to
                specialize in some systems and applications, so it is difficult to know before a
                search which expe1i should analyze the system and its data.

       c.       The search of a computer system is an exacting scientific procedure which is
                designed to protect the integrity of the evidence and to recover even hidden, erased,
                compressed, password-protected, or encrypted files. Since computer evidence is
                extremely vulnerable to tampering or destruction (which may be caused by
                malicious code or normal activities of an operating system), the controlled
                environment of a laboratory is essential to its complete and accurate analysis.

       34.      In order to fully retrieve data from a computer system, the analyst needs all

magnetic storage devices as well as the central processing unit (CPU). In cases involving child

pornography where the evidence consists partly of graphics files, the monitor(s) may be essential

for a thorough and efficient search due to software and hardware configuration issues. In addition,

the analyst needs all the system software (operating systems or interfaces, and hardware drivers)


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and any applications software which may have been used to create the data (whether stored on

hard drives or on external media).

       35.      In addition, there is probable cause to believe that the computer and its storage

devices, the monitor, keyboard, and modem are all instrumentalities of the crime(s), within the

meaning of 18 U.S.C. §§ 2252 through 2256, and should all be seized as such.

       36.      The search procedure of electronic data contained in computer hardware, computer

software, and/or memory storage devices may include the following techniques (the following is

a non-exclusive list, as other search procedures may be used):

       a.       examination of all of the data contained in such computer hardware, computer
                software, and/or memory storage devices to view the data and determine whether
                that data falls within the items to be seized as set forth herein;

       b.       searching for and attempting to recover any deleted, hidden, or encrypted data to
                determine whether that data falls within the list of items to be seized as set forth
                herein (any data that is encrypted and umeadable will not be returned unless law
                enforcement personnel have determined that the data is not (1) an instrumentality
                of the offenses, (2) a fruit of the criminal activity, (3) contraband, (4) otherwise
                unlawfully possessed, or (5) evidence of the offenses specified above);

       c.       surveying various file directories and the individual files they contain;

       d.       opening files in order to determine their contents;

       e.       scanning storage areas;

       f.       performing key word searches through all electronic storage areas to determine
                whether occurrences of language contained in such storage areas exist that are
                likely to appear in the evidence described in Attachment B; and/or

       g.       perfmming any other data analysis technique that may be necessary to locate and
                retrieve the evidence described in Attachment B.



                                          CONCLUSION

       37.     In consideration of the foregoing, your Affiant respectfully requests that this Court

issue a search wanant for the search of the camper-trailer and shelter currently at Lake Afton



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Campsite 41, being more specifically described in Attachment A which is incorporated by

reference as if fully set forth herein, authorizing the seizure and search of the items described in

Attachment B herein.

                                   REQUEST FOR SEALING

       38.     It is respectfully requested that this Court issue an order sealing, until further order

of the Comi, all papers submitted in supp01i of this application, including the application and

search wanant. I believe that sealing this document is necessary because the warrant is relevant

to an ongoing investigation into the criminal organizations as not all of the targets of this

investigation will be searched at this time. Based upon my training and experience, I have learned

that, online criminals actively search for criminal affidavits and search warrants via the internet,

and disseminate them to other online criminals as they deem appropriate, i.e., post them publicly

online through the carding forums. Premature disclosure of the contents of this affidavit and

related documents may have a significant and negative impact on the continuing investigation and

may severely jeopardize its effectiveness.

                                                   Respectfully submitted,


                                               ~B~t'e:
                                                 DiCapri~
                                                   Todd R.
                                                   Special Agent
                                                   Federal Bureau of Investigation




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                                     ATTACHMENT A


Description of premises to be searched: A camper-trailer and shelter cunently at Lake Afton

Campsite 41 (Kansas), depicted in the following photos.
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                                    ATTACHMENTB

                            LIST OF ITEMS TO BE SEIZED

1.   Any and all child pornography (as defined in 18 U.S.C. § 2256(8)), visual depictions of
     minors engaged in sexually explicit conduct as defined in 18 U.S.C. § 2256(2), or child
     erotica, in any format or medium, including computer files, prints, negatives, drawings,
     and paintings.

2.   Any and all computer devices (including desktops, laptops, tablets, smartphones, as well
     as the hardware, peripherals, software, computer related documentation, passwords and
     data security devices, and storage devices), including the software or programs or
     applications contained therein, that may be or are used to:
     a. distribute, receive, possess or access child pornography or visual depictions of minors
         engaged in sexually explicit conduct;

     b. seek, obtain, store, or record information pertaining to the sexual exploitation of
        children or otherwise relate to an interest in child pornography, visual depictions of
        minors engaged in sexually explicit conduct, child erotica, or the sexual exploitation
        of children;

     c. communicate with any other person regarding child pornography, visual depictions of
        minors engaged in sexually explicit conduct, child erotica, or the sexual exploitation
        of children;

     and any and all data or information on the device which may relate to subparagraphs 2a,
     2b, and 2c, including data or information that may reveal indicia of ownership, access, or
     use.

3.   Any and all notes, documents, records, correspondence, in any format and medium
     (including, but not limited to, envelopes, letters, papers, diaries, manifestos, manuals,
     email messages, chat logs and electronic messages, and handwritten notes) pe1iaining to
     child pornography, visual depictions of minors engaged in sexually explicit conduct,
     child erotica, or the sexual exploitation of children, and to include any and all data or
     records that may reveal indicia of creation, use, or ownership of the notes, documents,
     records, or correspondence.

4.   Any and all cameras, film, videotapes or other photographic equipment, which may be
     used to contain, create or duplicate child pornography, visual depictions of minors
     engaged in sexually explicit conduct, or child erotica.

5.   Any and all documents, records, or conespondence, in any format or medium (including,
     but not limited to, envelopes, letters, papers, email messages, chat logs and electronic
     messages, and other digital data files), pe1iaining to occupancy or ownership of the
     premises described above, including, but not limited to, rental or lease agreements,
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     mortgage documents, rental or lease payments, utility and telephone bills, mail
     envelopes, or addressed c01Tespondence.

6.   Any and all records, documents, invoices and materials, in any foimat or medium
     (including, but not limited to, envelopes, letters, papers, email messages, chat logs and
     electronic messages, and other digital data files) that concern any accounts with an
     Internet Service Provider.

7.   Any and all records, documents, invoices and materials, in any format or medium
     (including, but not limited to, envelopes, letters, papers, email messages, chat logs and
     electronic messages, and other digital data files) that concern online storage or other
     remote computer storage, including, but not limited to, software used to access such
     online storage or remote computer storage, user logs or archived data that show
     connection to such online storage or remote computer storage, and user logins and
     passwords for such online storage or remote computer storage.

8.   Any and all records, documents, invoices and materials, in any format or medium
     (including, but not limited to, envelopes, letters, papers, email messages, chat logs and
     electronic messages, and other digital data files) that concern encryption, deletion, or
     destruction of evidence.

9.   Any and all visual depictions of minors that may assist in the identification of minors
     depicted in images of child erotica or child pornography.
